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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 Joe Alves, individually and on behalf of all       Case No. ________________
 others similarly situated,
                                                    CLASS ACTION COMPLAINT
         Plaintiff,
                                                    JURY TRIAL DEMANDED

   v.

 GOODYEAR TIRE AND RUBBER
 COMPANY,

         Defendant.


                                COMPLAINT - CLASS ACTION

        Plaintiff Joe Alves (“Plaintiff”), individually and on behalf of all others similarly situated,

hereby files this class action complaint against Defendant Goodyear Tire and Rubber Company

(“Defendant” or “Goodyear”), and in support thereof alleges the following:

                                        INTRODUCTION

        1.      This is a class action brought against Goodyear for wiretapping the personal and

private electronic communications of visitors to its website, www.goodyear.com, without their

consent. Goodyear procures and directs third-party vendors, such as Microsoft Corporation

(“Microsoft”), to embed snippets of JavaScript computer code (“Session Replay Code”) on

Goodyear’s website, which then deploys on each website visitor’s internet browser for the purpose

of intercepting and recording the website visitor’s electronic communications with the Goodyear

website, including their mouse movements, clicks, keystrokes (such as text being entered into an

information field or text box), URLs of web pages visited, and/or other electronic communications
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in real-time (“Website Communications”). These third-party vendors (collectively, “Session

Replay Providers”) create and deploy the Session Replay Code at Goodyear’s request.

       2.      After intercepting and capturing the Website Communications, Goodyear and the

Session Replay Providers use those Website Communications to recreate website visitors’ entire

visit to www.goodyear.com. The Session Replay Providers create a video replay of the user’s

behavior on the website and provides it to Goodyear for analysis. Goodyear’s procurement of the

Session Replay Providers to secretly deploy the Session Replay Code results in the electronic

equivalent of “looking over the shoulder” of each visitor to the Goodyear website for the entire

duration of their website interaction.

       3.       Goodyear’s conduct violates the Massachusetts Wiretapping Act, Mass. Gen.

Laws ch. 272, §99, the Massachusetts Invasion of Privacy Statute, Mass. Gen. Laws ch. 214, §1,

and constitutes a general invasion of the privacy rights of website visitors.

       4.      Plaintiff brings this action individually and on behalf of a class of all Massachusetts

citizens whose Website Communications were intercepted through Goodyear’s procurement and

use of Session Replay Code embedded on the webpages of www.goodyear.com and seeks all civil

remedies provided under the causes of action, including but not limited to compensatory, statutory,

and/or punitive damages, and attorneys’ fees and costs.

                                            PARTIES

       5.      Plaintiff is a citizen of the Commonwealth of Massachusetts, and at all relevant

times to this action, resided and was domiciled in Bristol County, Massachusetts. Plaintiff is a

citizen of Massachusetts.

       6.      Defendant Goodyear Tire and Rubber Company is a corporation organized under

the laws of Ohio, and its principal place of business is 200 Innovation Way, Akron, Ohio.




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Defendant is a citizen of Ohio and is registered for service through Corporation Service Company,

at 3366 Riverside Drive, Suite 103, Upper Arlington, Ohio, 43221.

                                 JURISDICTION AND VENUE

        7.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332(d)(2)(A)

because this case is a class action where the aggregate claims of all members of the proposed class

are in excess of $5,000,000.00, exclusive of interest and costs, there are 100 or more members of

the proposed class, and at least one member of the proposed class, including Plaintiff, is a citizen

of a state different than Defendant.

        8.       This Court has personal jurisdiction over Defendant because a substantial part of

the events and conduct giving rise to Plaintiff’s claims occurred in Massachusetts. The privacy

violations complained of herein resulted from Defendant’s purposeful and tortious acts directed

towards citizens of Massachusetts while they were located within Massachusetts. At all relevant

times, Defendant knew that its practices would directly result in collection of information from

Massachusetts citizens while those citizens browsed www.goodyear.com. Defendant chose to

avail itself of the business opportunities of marketing and selling its goods and services in

Massachusetts and collecting real-time data from website visit sessions initiated by citizens of

Massachusetts while located in Massachusetts, and the claims alleged herein arise from those

activities.

        9.       Goodyear also knows that many users visit and interact with Goodyear’s websites

while they are physically present in Massachusetts.        Both desktop and mobile versions of

Goodyear’s website allow a user to search for nearby stores by providing the user’s “current

location,” as furnished by the location-determining tools of the device the user is using or by the

user’s IP address (i.e., without requiring the user to manually input an address).           Users’




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employment of automatic location services in this way means that Goodyear is continuously made

aware that its website is being visited by people located in Massachusetts, and that such website

visitors are being wiretapped in violation of Massachusetts statutory and common law.

        10.      Pursuant to 28 U.S.C. §1391, this Court is the proper venue for this action because

a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this

District.

                                   FACTUAL ALLEGATIONS

        A.       Website User and Usage Data Have Immense Economic Value

        11.      The “world’s most valuable resource is no longer oil, but data.”1

        12.      Earlier this year, Business News Daily reported that some businesses collect

personal data (i.e., gender, web browser cookies, IP addresses, and device IDs), engagement data

(i.e., how consumers interact with a business’s website, applications, and emails), behavioral data

(i.e., customers’ purchase histories and product usage information), and attitudinal data (i.e., data

on consumer satisfaction) from consumers.2 This information is valuable to companies because

they can use this data to improve customer experiences, refine their marketing strategies, capture

data to sell it, and even to secure more sensitive consumer data.3

        13.      In a consumer-driven world, the ability to capture and use customer data to shape

products, solutions, and the buying experience is critically important to a business’s success.




1
       The world’s most valuable resource is no longer oil, but data, THE ECONOMIST (May 6,
2017), https://www.economist.com/leaders/2017/05/06/the-worlds-most-valuable-resource-is-no-
longer-oil-but-data.
2
        Max Freedman, How Businesses Are Collecting Data (And What They’re Doing With It),
BUSINESS     NEWS     DAILY     (Aug.    5,    2022;     updated     Aug.   25,   2022),
https://www.businessnewsdaily.com/10625-businesses-collecting-data.html.
3
        Id.


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Research shows that organizations who “leverage customer behavior insights outperform peers by

85 percent in sales growth and more than 25 percent in gross margin.”4

       14.      In 2013, the Organization for Economic Cooperation and Development (“OECD”)

even published a paper entitled “Exploring the Economics of Personal Data: A Survey of

Methodologies for Measuring Monetary Value.”5 In this paper, the OECD measured prices

demanded by companies concerning user data derived from “various online data warehouses.”6

       15.      OECD indicated that “[a]t the time of writing, the following elements of personal

data were available for various prices: USD 0.50 cents for an address, USD 2 [i.e., $2] for a date

of birth, USD 8 for a social security number (government ID number), USD 3 for a driver’s license

number and USD 35 for a military record. A combination of address, date of birth, social security

number, credit record and military is estimated to cost USD 55.”7

       B.       Website Users Have a Reasonable Expectation of Privacy in Their Interactions
                with Websites

       16.      Consumers are skeptical and are wary about their data being collected. A report

released by KPMG shows that “a full 86% of the respondents said they feel a growing concern

about data privacy, while 78% expressed fears about the amount of data being collected.”8



4
       Brad Brown, Kumar Kanagasabai, Prashant Pant & Gonçalo Serpa Pinto, Capturing value
from your customer data, MCKINSEY (Mar. 15, 2017), https://www.mckinsey.com/business-
functions/quantumblack/our-insights/capturing-value-from-your-customer-data.
5
        Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring
Monetary Value, OECD Digital Economy Papers, NO. 220 (Apr. 2, 2013),
https://www.oecdilibrary.org/docserver/5k486qtxldmq-en.pdf.
6
       Id. at 25.
7
       Id.
8
      Lance Whitney, Data privacy is a growing concern for more consumers, TECHREPUBLIC
(Aug. 17, 2021), https://www.techrepublic.com/article/data-privacy-is-a-growing-concern-for-
more-consumers/.


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       17.      Another recent paper also indicates that most website visitors will assume their

detailed interactions with a website will only be used by the website and not be shared with a third-

party they know nothing about.9 As such, website visitors reasonably expect that their interactions

with a website should not be released to third parties unless explicitly stated.10

       18.      Privacy polls and studies show that a majority of Americans consider one of the

most important privacy rights to be the need for an individual’s affirmative consent before a

company collects and shares its customers’ data.

       19.      A recent study by Consumer Reports shows that 92% of Americans believe that

internet companies and websites should be required to obtain consent before selling or sharing

consumers’ data, and the same percentage believe internet companies and websites should be

required to provide consumers with a complete list of the data that has been collected about them.11

       20.      Moreover, according to a study by Pew Research Center, a majority of Americans,

approximately 79%, are concerned about how data is collected about them by companies.12

       21.      Users act consistently with their expectation of privacy. Following a new rollout

of the iPhone operating software – which asks users for clear, affirmative consent before allowing



9
        CUJO AI Recent Survey Reveals U.S. Internet Users’ Expectations and Concerns Towards
Privacy and Online Tracking, CUJO AI (May 26, 2020), https://www.prnewswire.com/news-
releases/cujo-ai-recent-survey-reveals-us-internet-users-expectations-and-concerns-towards-
privacy-and-online-tracking-301064970.html.
10
       Frances S. Grodzinsky, Keith W. Miller & Marty J. Wolf, Session Replay Scripts: A
Privacy Analysis, The Information Society, 38:4, 257, 258 (2022).
11
        Consumers Less Confident About Healthcare, Data Privacy, and Car Safety, New Survey
Finds, CONSUMER REPORTS (May 11, 2017), https://www.consumerreports.org/consumer-
reports/consumers-less-confident-about-healthcare-data-privacy-and-car-safety-a3980496907/.
12
        Brooke Auxier et al., Americans and Privacy: Concerned, Confused, and Feeling Lack of
Control Over Their Personal Information, PEW RESEARCH CENTER, (Nov. 15, 2019),
https://www.pewresearch.org/internet/2019/11/15/americans-and-privacy-concerned-confused-
and-feeling-lack-of-control-over-their-personal-information/.


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companies to track users – 85 percent of worldwide users and 94 percent of U.S. users chose not

to allow such tracking.13

        C.       How Session Replay Code Works

        22.      Session Replay Code, such as that implemented on www.goodyear.com, enables

website operators to record, save, and replay website visitors’ interactions with a given website.

The clandestinely deployed code provides online marketers and website designers with insights

into the user experience by recording website visitors “as they click, scroll, type or navigate across

different web pages.”14

        23.      While Session Replay Code is utilized by websites for some legitimate purposes, it

goes well beyond normal website analytics when it comes to collecting the actual contents of

communications between website visitors and websites. Unlike other online advertising tools,

Session Replay Code allows a website to capture and record nearly every action a website visitor

takes while visiting the website, including actions that reveal the visitor’s personal or private

sensitive data, sometimes even when the visitor does not intend to submit the data to the website

operator, or has not finished submitting the data to the website operator.15 As a result, website

visitors “aren’t just sharing data with the [web]site they’re on . . . but also with an analytics service

that may be watching over their shoulder.”16



13
        Margaret Taylor, How Apple screwed Facebook, WIRED, (May 19, 2021),
https://www.wired.co.uk/article/apple-ios14-facebook.
14
       Erin Gilliam Haije, [Updated] Are session recording tools a risk to internet privacy?,
MOPINION (Mar. 7, 2018), https://mopinion.com/are-session-recording-tools-a-risk-to-internet-
privacy/.
15
        Id.
16
       Eric Ravenscraft, Almost Every Website You Visit Records Exactly How Your Mouse
Moves, MEDIUM (Feb. 5, 2020), https://onezero.medium.com/almost-every-website-you-visit-
records-exactly-how-your-mouse-moves-4134cb1cc7a0.


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       24.      Session Replay Code works by inserting computer code into the various event

handling routines that web browsers use to receive input from users, thus intercepting the

occurrence of actions the user takes. When a website delivers Session Replay Code to a user’s

browser, the browser will follow the code’s instructions by sending responses in the form of

“event” data to a designated third-party server. Typically, the server receiving the event data is

controlled by the third-party entity that wrote the Session Replay Code, rather than the owner of

the website where the code is installed.

       25.      The types of events captured by Session Replay Code vary by specific product and

configuration, but in general are wide-ranging and can encompass virtually every user action,

including all mouse movements, clicks, scrolls, zooms, window resizes, keystrokes, text entry, and

numerous other forms of a user’s navigation and interaction through the website. To permit a

reconstruction of a user’s visit accurately, the Session Replay Code must be capable of capturing

these events at hyper-frequent intervals, often just milliseconds apart. Events are typically

accumulated and transmitted in blocks periodically throughout the user’s website session, rather

than after the user’s visit to the website is completely finished.

       26.      Unless specifically masked through configurations chosen by the website owner,

some visible contents of the website may also be transmitted to the Session Replay Provider.

       27.      Once the events from a user session have been recorded by a Session Replay Code,

a website operator can view a visual reenactment of the user’s visit through the Session Replay

Provider, usually in the form of a video, meaning “[u]nlike typical analytics services that provide




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aggregate statistics, these scripts are intended for the recording and playback of individual

browsing sessions.”17

       28.      Because most Session Replay Code will, by default, indiscriminately capture the

maximum range of user-initiated events and content displayed by the website, researchers have

found that a variety of highly sensitive information can be captured in event responses from

website visitors, including medical conditions, credit card details, and other personal information

displayed or entered on webpages.18

       29.      Most alarming, Session Replay Code may capture data that the user did not even

intentionally transmit to a website during a visit, and then make that data available to website

owners when they access the session replay through the Session Replay Provider. For example, if

a user writes information into a text form field, but then chooses not to click a “submit” or “enter”

button on the website, the Session Replay Code may nevertheless cause the non-submitted text to

be sent to the designated event-response-receiving server before the user deletes the text or leaves

the page. This information will then be viewable to the website owner when accessing the session

replay through the Session Replay Provider.

       30.      Session Replay Code does not necessarily anonymize user sessions, either.

       31.      First, if a user’s entry of personally identifying information is captured in an event

response, that data will become known and visible to both the Session Replay Provider and the

website owner.




17
        Steven Englehardt, No boundaries: Exfiltration of personal data by session-replay scripts,
FREEDOM TO TINKER (Nov. 15, 2017), https://freedom-to-tinker.com/2017/11/15/no-boundaries-
exfiltration-of-personal-data-by-session-replay-scripts/.
18
       Id.


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       32.     Second, if a website displays user account information to a logged-in user, that

content may be captured by Session Replay Code.

       33.     Third, some Session Replay Providers explicitly offer website owners cookie

functionality that permits linking a session to an identified user, who may be personally identified

if the website owner has associated the user with an email address or username.19

       34.     Session Replay Providers often create “fingerprints” that are unique to a particular

user’s combination of computer and browser settings, screen configuration, and other detectable

information. The resulting fingerprint, which is often unique to a user and rarely changes, is

collected across all sites that the Session Replay Provider monitors.

       35.     When a user eventually identifies themselves to one of these websites (such as by

filling in a form), the provider can then associate the fingerprint with the user identity and can then

back-reference all of that user’s other web browsing across other websites previously visited,

including on websites where the user had intended to remain anonymous – even if the user

explicitly indicated that they would like to remain anonymous by enabling private browsing.

       36.     In addition to the privacy invasions caused by the diversion of user communications

with websites to third-party Session Replay Providers, Session Replay Code also exposes website

visitors to identity theft, online scams, and other privacy threats.20 Indeed, “[t]he more copies of

sensitive information that exist, the broader the attack surface, and when data is being collected . .




19
        Id.; see also FS.identify – Identifying users, FULLSTORY, https://help.fullstory.com/hc/en-
us/articles/360020828113 (last visited Sep. 8, 2022).
20
       Juha Sarrinen, Session replay is a major threat to privacy on the web, ITNEWS (Nov. 16,
2017), https://www.itnews.com.au/news/session-replay-is-a-major-threat-to-privacy-on-the-web-
477720.


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. it may not be stored properly or have standard protections” increasing “the overall risk that data

will someday publicly leak or be breached.”21

        37.      Recognizing the privacy concerns posed by Session Replay Code, in 2019, Apple

required app developers to remove or properly disclose the use of analytics code that allow app

developers to record how a user interacts with their iPhone apps or face immediate removal from

the app store.22 In announcing this decision, Apple stated: “Protecting user privacy is paramount

in the Apple ecosystem. Our App Store Review Guidelines require that apps request explicit user

consent and provide a clear visual indication when recording, logging, or otherwise making a record

of user activity.”23

        D.       Goodyear Secretly Wiretaps its Website Visitors’ Electronic
                 Communications

        38.      Goodyear operates the website www.goodyear.com. Goodyear is an online and

brick-and-mortar retailer and servicer for wheels, tires, and oil changes.

        39.      However, unbeknownst to the millions of individuals perusing Goodyear’s

products online, Goodyear intentionally procures and embeds Session Replay Code from Session

Replay Providers on its website to track and analyze website user interactions with

www.goodyear.com.

        40.      One such Session Replay Provider that Goodyear procures is Microsoft.




21
       Lily Hay Newman, Covert ‘Replay Sessions’ Have Been Harvesting Passwords by
Mistake, WIRED (Feb. 26, 2018), https://www.wired.com/story/covert-replay-sessions-
harvesting-passwords/.
22
     Zack Whittaker, Apple tells app developers to disclose or remove screen recording code,
TECHCRUNCH (Feb. 7, 2019), https://techcrunch.com/2019/02/07/apple-glassbox-apps/.
23
        Id.


                                                 11
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       41.     Microsoft is the owner and operator of a Session Replay Code titled Clarity, which

provides basic information about website user sessions, interactions, and engagement, and breaks

down users by device type, county, and other dimensions.24

       42.     Goodyear’s procurement and use of Microsoft Clarity’s Session Replay Code, and

procurement and use of other Session Replay Code through various Session Replay Providers, is

a wiretap in violation Massachusetts statutory law.

       E.      Plaintiff’s and Class Members’ Experience

       43.     While in Massachusetts, Plaintiff visited www.goodyear.com on his computer and

cell phone to shop for tires in late 2021 and early 2022.

       44.     While visiting Goodyear’s website, Plaintiff fell victim to Defendant’s unlawful

monitoring,    recording,   and   collection   of    Plaintiff’s   Website   Communications   with

www.goodyear.com.

       45.     Unknown to Plaintiff, Goodyear procures and embeds Session Replay Code on its

website.

       46.     During the website visit, Plaintiff’s Website Communications were captured by

Session Replay Code and sent to various Session Replay Providers.

       47.     For example, when visiting www.goodyear.com, if a website user adds a product

to their cart, that information is captured by the Session Replay Code embedded on the website:




24
        Jono Alderson, An introduction to Microsoft Clarity, Yoast (Nov. 11, 2020),
https://yoast.com/introduction-microsoft-clarity/#h-what-is-microsoft-clarity.


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       Depicting information sent to one of the Service Replay Providers – Microsoft – through a
       Service Replay Code – Clarity – after viewing “Goodyear Wrangler All-Terrain
       Adventure” tires while visiting www.goodyear.com.

       48.     Similarly, when entering in your vehicle information to view tires that fit your

specific vehicle, that information is sent to Session Replay Providers:




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       Depicting information sent to one of the Service Replay Providers – Microsoft – through a
       Service Replay Code – Clarity – after selecting “RAM” as user vehicle make while visiting
       www.goodyear.com.

       49.     The wiretapping by the Session Replay Code is ongoing during the visit and

intercepts the contents of these communications between Plaintiff and Goodyear with

instantaneous transmissions to the Session Replay Provider, as illustrated below, in which only 34

milliseconds were required to send a packet of event response data, which would indicate whatever

the website user had just done:




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       50.     Session Replay Code operates in the same manner for all putative Class members.

       51.     Like Plaintiff, each Class member visited www.goodyear.com with Session Replay

Code embedded in it, and the Session Replay Code intercepted the Class members’ Website

Communications with www.goodyear.com by sending hyper-frequent logs of those

communications to Session Replay Providers.

       52.     Even if Goodyear masks certain elements when it configures the settings of the

Session Replay Code embedded on its website, any operational iteration of the Session Replay

Code will, by its very nature and purpose, intercept the contents of communications between the

website’s visitors and the website owner.

       53.     For example, even with heightened masking enabled, Session Replay Providers will

still learn through the intercepted data exactly which pages a user navigates to, how the user moves


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through the page (such as which areas the user zooms in on or interacted with), and additional

substantive information.

        54.     As a specific example, if a user types a product into Goodyear’s main search bar

and initiates a search, even if the text entered into the search bar is masked, Session Replay

Providers will still learn what is entered into the bar as soon as the search result page loads. This

is so because the responsive search results will be displayed on the subsequent page, and the

responsive content generated by Goodyear will repeat the searched information back on the

generated page. That information will not be masked even if user-inputted text is fully masked in

a text field.

                               CLASS ACTION ALLEGATIONS

        55.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23

individually and on behalf of the following Class:

        Massachusetts Class:

        All natural persons in Massachusetts whose Website Communications were
        captured in Massachusetts through the use of Session Replay Code embedded in
        www.goodyear.com.

        56.     Excluded from the Class are Defendant, its parents, subsidiaries, affiliates, officers,

and directors, all persons who make a timely election to be excluded from the Class, the judge to

whom this case is assigned, and any immediate family members thereof, and the attorneys who

enter their appearance in this action.

        57.     Numerosity: The members of the Class are so numerous that individual joinder of

all Class members is impracticable. The precise number of Class members and their identities

may be obtained from the books and records of Goodyear or the Session Replay Providers.




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       58.     Commonality: This action involves questions of law and fact that are common to

the Class members. Such common questions include, but are not limited to: (a) whether Defendant

procures Session Replay Providers to intercept Goodyear’s website visitors’ Website

Communications; (b) whether Goodyear intentionally discloses the intercepted Website

Communications of its website users; (c) whether Defendant acquires the contents of website

users’ Website Communications without their consent; (d) whether Defendant’s conduct violates

Massachusetts Wiretap Act, Mass. Gen. Laws ch. 272, §99; (e) whether Defendant’s conduct

violates Mass. Gen. Laws ch. 214, §1; (f) whether Plaintiff and the Class members are entitled to

equitable relief; and (g) whether Plaintiff and the Class members are entitled to actual, statutory,

punitive, or other forms of damages, and other monetary relief.

       59.     Typicality: Plaintiff’s claims are typical of the other Class members’ claims

because, among other things, all Class members were comparably injured through the uniform

prohibited conduct described above. For instance, Plaintiff and each member of the Class had

their communications intercepted in violation of the law and their right to privacy. This uniform

injury and the legal theories that underpin recovery make the claims of Plaintiff and the members

of the Class typical of one another.

       60.     Adequacy of Representation: Plaintiff has and will continue to fairly and

adequately represent and protect the interests of the Class. Plaintiff has retained counsel competent

and experienced in complex litigation and class actions, including litigations to remedy privacy

violations. Plaintiff has no interest that is antagonistic to the interests of the Class, and Defendant

has no defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously

prosecuting this action on behalf of the members of the Class, and they have the resources to do




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so. Neither Plaintiff nor his counsel have any interest adverse to the interests of the other members

of the Class.

       61.      Superiority: This class action is appropriate for certification because class

proceedings are superior to other available methods for the fair and efficient adjudication of this

controversy and joinder of all members of the Class is impracticable. This proposed class action

presents fewer management difficulties than individual litigation, and provides the benefits of

single adjudication, economies of scale, and comprehensive supervision by a single court. Class

treatment will create economies of time, effort, and expense and promote uniform decision-

making.

       62.      Predominance: Common questions of law and fact predominate over any

questions affecting only individual Class members. Similar or identical violations, business

practices, and injuries are involved. Individual questions, if any, pale by comparison, in both

quality and quantity, to the numerous common questions that dominate this action. For example,

Defendant’s liability and the fact of damages is common to Plaintiff and each member of the Class.

If Defendant intercepted Plaintiff’s and Class members’ Website Communications, then Plaintiff

and each Class member suffered damages by that conduct.

       63.      Ascertainability: Members of the Class are ascertainable. Class membership is

defined using objective criteria and Class members may be readily identified through Goodyear’s

books and records or the Session Replay Providers’ books and records.

                                           COUNT I
                           Violation of Massachusetts Wiretap Statute
                                 (Mass. Gen. Laws ch. 272, §99)

       64.      Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

       65.      Plaintiff brings this claim individually and on behalf of the Class.




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       66.     The Massachusetts Wiretap Statute (the “Statute”) prohibits the interception, use,

or disclosure of any oral or wire communications which violates personal, property, or privacy

interests. Mass. Gen. Laws ch. 272 §99(Q).

       67.     The express legislative purpose of Mass. Gen. Laws ch. 272, §99’s unequivocal

ban on secret recordings is to protect Massachusetts citizens’ privacy. In fact, the statute’s

preamble states that secret recording “pose[s] grave dangers to the privacy of all citizens of the

commonwealth.” Mass. Gen. Laws ch. 272, §99 (A).

       68.     “Interception” means to “[S]ecretly hear, secretly record, or aid another to secretly

hear or secretly record the contents of any wire or oral communication through the use of any

intercepting device by any person other than a person given prior authority by all parties to such

communication”. Mass. Gen. Laws ch. 272, §99(B)(4).

       69.     “Intercepting device” means “any device or apparatus which is capable of

transmitting, receiving, amplifying, or recording a wire or oral communication other than a hearing

aid or similar device which is being used to correct subnormal hearing to normal and other than

any telephone or telegraph instrument, equipment, facility, or a component thereof, (a) furnished

to a subscriber or user by a communications common carrier in the ordinary course of its business

under its tariff and being used by the subscriber or user in the ordinary course of its business; or

(b) being used by a communications common carrier in the ordinary course of its business.” Mass.

Gen. Laws ch. 272, §99(B)(3).

       70.      “Wire communication” means “any communication made in whole or in part

through the use of facilities for the transmission of communications by the aid of wire, cable, or

other like connection between the point of origin and the point of reception”. Mass. Gen. Laws

ch. 272, §99(B)(1). [Emphasis added.]




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       71.     “Contents” means “any wire or oral communication, means any information

concerning the identity of the parties to such communication or the existence, contents, substance,

purport, or meaning of that communication.” Mass. Gen. Laws ch. 272, §99(B)(5).

       72.     “Person” means “any individual, partnership, association, joint stock company,

trust, or corporation, whether or not any of the foregoing is an officer, agent, or employee of the

United States, a state, or a political subdivision of a state.” Mass. Gen. Laws ch. 272, §99(B)(13).

       73.     “Use” includes “willfully us[ing] or attempt[ing] to use the contents of any wire or

oral communication, knowing that the information was obtained through interception[.]” Mass.

Gen. Laws ch. 272, §99(C)(3)(b).

       74.     Goodyear is a person for purposes of the Act because it is a corporation.

       75.     Session Replay Code, like that procured by Goodyear, is an “intercepting device”

used for the “capable of transmitting, receiving, amplifying, or recording a wire or oral

communication other than a hearing aid or similar device which is being used to correct subnormal

hearing to normal and other than any telephone or telegraph instrument, equipment, facility, or a

component thereof, (a) furnished to a subscriber or user by a communications common carrier in

the ordinary course of its business under its tariff and being used by the subscriber or user in the

ordinary course of its business; or (b) being used by a communications common carrier in the

ordinary course of its business.” Mass. Gen. Laws ch. 272 §99(B)(3).

       76.     Plaintiff’s and Class members’ intercepted Website Communications constitute the

“contents” of electronic communications within the meaning of the Act.

       77.     Goodyear intentionally procures and embeds Session Replay Code on its website

to spy on, automatically and secretly, and intercept its website visitors’ electronic interactions

communications with Goodyear in real-time.




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       78.     Plaintiff’s and Class members’ electronic communications are intercepted

contemporaneously with their transmission.

       79.     Plaintiff and Class members did not consent to having their Website

Communications wiretapped.

       80.     Any aggrieved person whose oral or wire communications were intercepted,

disclosed or used except as permitted or authorized by this section or whose personal or property

interests or privacy were violated by means of an interception except as permitted or authorized

by this section shall have a civil cause of action against any person who so intercepts, discloses or

uses such communications or who so violates his personal, property, or privacy interest, and shall

be entitled to recover from any such person actual damages but not less than liquidated damages

computed at the rate of $100 per day for each day of violation or $1000, whichever is higher;

punitive damages; and a reasonable attorney’s fee and other litigation disbursements reasonably

incurred. Mass. Gen. Laws ch. 272, §99(Q).

       81.     Goodyear’s conduct violated Mass. Gen. Laws ch. 272, § 99 and therefore gives

rise to a claim under Mass. Gen. Laws ch. 272, §99(Q).

       82.     Pursuant to Mass. Gen. Laws ch. 272, §99(Q) Plaintiff and the Class members seek

(1) actual damages, not less than liquidated damages computed at the rate of $100/day for each

violation or $1,000, whichever is higher; (2) punitive damages; and (3) reasonable attorneys’ fees

and other litigation costs incurred.

       83.     Goodyear’s conduct is ongoing, and it continues to unlawfully intercept the

communications of Plaintiff and Class members any time they visit Defendant’s website with

Session Replay Code enabled without their consent. Plaintiff and Class members are entitled to

declaratory and injunctive relief to prevent future interceptions of their communications.




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                                         COUNT II
              Invasion of Privacy – Violation of Mass. Gen. Laws ch. 214, §1(B)
       84.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

       85.     Plaintiff brings this claim individually and on behalf of the Class.

       86.     Pursuant to Mass. Gen. Laws ch. 214, §1., “[a] person shall have a right against

unreasonable, substantial or serious interference with his privacy. The superior court shall have

jurisdiction in equity to enforce such right and in connection therewith to award damages.”

       87.     Plaintiff and Class members have an objective, reasonable expectation of privacy

in their Website Communications.

       88.     Plaintiff and Class members did not consent to, authorize, or know about

Goodyear’s intrusion at the time it occurred. Plaintiff and Class members never agreed that

Goodyear could collect or disclose their Website Communications.

       89.     Plaintiff and Class members had an objective interest in precluding the

dissemination and/or misuse of their information and communications and in conducting their

personal activities without intrusion or interference, including the right to not have their personal

information intercepted and utilized for business gain.

       90.     Goodyear intentionally intrudes on Plaintiff’s and Class members’ private life,

seclusion, or solitude, without consent.

       91.     Goodyear’s conduct is highly objectionable to a reasonable person and constitutes

an egregious breach of the social norms underlying the right to privacy.

       92.     Plaintiff and Class members were harmed by Goodyear’s wrongful conduct as

Goodyear’s conduct has caused Plaintiff and the Class mental anguish and suffering arising from

their loss of privacy and confidentiality of their electronic communications and exposed Plaintiff

and the Class to unwanted solicitation.



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       93.     Goodyear’s conduct has needlessly harmed Plaintiff and the Class by capturing

intimately personal facts and data in the form of their Website Communications. This disclosure

and loss of privacy and confidentiality has caused Plaintiff and the Class to experience mental

anguish, emotional distress, worry, fear, and other harms.

       94.     Additionally, given the monetary value of individual personal information,

Defendant deprived Plaintiff and Class members of the economic value of their interactions with

Defendant’s website, without providing proper consideration for Plaintiff’s and Class members’

property.

       95.     Further, Goodyear has improperly profited from its invasion of Plaintiff and Class

members’ privacy in its use of their data for its economic value.

       96.     As a direct and proximate result of Goodyear’s conduct, Plaintiff and Class

members are entitled to damages, including compensatory, punitive, and/or nominal damages, in

an amount to be proven at trial.

       97.     Goodyear’s conduct is ongoing, and it continues to unlawfully intercept the

communications of Plaintiff and Class members any time they visit Defendant’s website with

Session Replay Code enabled without their consent. Plaintiff and Class members are entitled to

declaratory and injunctive relief to prevent future interceptions of their communications.

                                   REQUEST FOR RELIEF

       Plaintiff, individually and on behalf of the other members of the proposed Class,

respectfully request that the Court enter judgment in Plaintiff’s and the Class’s favor and against

Defendant as follows:

       A.      Certifying the Class and appointing Plaintiff as the Class representative;

       B.      Appointing Plaintiff’s counsel as class counsel;




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        C.      Declaring that Defendant’s past conduct was unlawful, as alleged herein;

        D.      Declaring Defendant’s ongoing conduct is unlawful, as alleged herein;

        E.      Enjoining Defendant from continuing the unlawful practices described herein, and

awarding such injunctive and other equitable relief as the Court deems just and proper;

        F.      Awarding Plaintiff and the Class members statutory, actual, compensatory,

consequential, punitive, and nominal damages, as well as restitution and/or disgorgement of profits

unlawfully obtained;

        G.      Awarding Plaintiff and the Class members pre-judgment and post-judgment

interest;

        H.      Awarding Plaintiff and the Class members reasonable attorneys’ fees, costs, and

expenses; and

        I.      Granting such other relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

        Plaintiff, on behalf of himself and the Class, demands a trial by jury of any and all issues

in this action so triable of right.

Dated: October 24, 2022                       /s/ Joseph P. Guglielmo
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